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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ROME DIVISION

            UNITED STATES OF AMERICA


                v.                                           CRIMINAL ACTION FILE
                                                             NO. 4:12-CR-00009-RLV
            TEDRICK DIRELL WHITERS,
            SERGIO JOVANNY BIBIANO VASQUEZ,
            OSPICIO OLEA AGUILAR,
            FREDRICO JERBURSHIO JONES,
            WILLIE CHARLES TOWNSEND,
            CORWIN JACKSON FINSLEY, and
            MAURICE JAMMOROW BEAVERS,

                           Defendants.


                       NON-FINAL REPORT AND RECOMMENDATION

                 This matter is before the Court on a Motion to Dismiss Count Four [69] of the

           Indictment (“Motion to Dismiss”) filed by defendant Sergio Jovanny Bibiano

           Vasquez. The following defendants filed Motions to Adopt that Motion: Maurice

           Jammorow Beavers [74]; Fredrico Jerburshio Jones [75]; Corwin Jackson Finsley

           [84]; and Tedrick Direll Whiters [89].1 The Court granted those Motions to Adopt.

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                   On May 21, 2012, Mr. Vasquez withdrew the Motion to Dismiss. (See
           Notice [105].) Nevertheless, given its adoption by other defendants, it is ripe for
           decision.
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           (See Minute Entry [91], granting Whiters’s Motion to Adopt [89]; Minute Entry [92],

           granting Finsley’s Motion to Adopt [84]; Minute Entry [94], granting Beavers’s

           Motion to Adopt [74]; and Oral Order of June 26, 2012, granting Jones’s Motion to

           Adopt [75].)2

                 The Government has responded to the Motions to Dismiss (see Response to

           Defendants’ Motion To Dismiss Count Four [117] (“Gov’t’s Resp.”)) and one

           defendant replied (see Whiters Reply Br. [125]). For the reasons explained below,

           the undersigned RECOMMENDS that the Motions to Dismiss be DENIED.

           I.    BACKGROUND

                 A.     The Incident

                 According to evidence presented at the bond hearings in this case, on

           November 2, 2011, several men traveled from Atlanta to a parking lot in Cartersville

           to buy five kilograms of cocaine and 150 pounds of marijuana from a drug dealer.

           The men did not know that the “drug dealer” was helping law enforcement agents,

           and that the agents planned to arrest them once the deal was in progress. However,

           the agents did not know that the men planned to rob the drug dealer. As the agents

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                   The Clerk has re-docketed the adopted Motions to Dismiss as [108] for
           defendant Whiters, [110] for defendant Finsley, [112] for defendant Beavers, and
           [121] for defendant Jones.

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           engaged in surveillance of the Cracker Barrel parking lot, where the drug deal was

           supposed to occur, they witnessed the presumed deal transform into an attempted

           armed robbery of fictitious drugs; they intervened and arrested the defendants.

                 B.     The Indictment

                 The grand jury returned a six-count Indictment [1] against seven defendants

           on February 8, 2012. Count One charges the defendants with conspiracy to commit

           armed robbery in violation of 18 U.S.C. § 1951(a) (the “Hobbs Act”). In Count

           Two, the Indictment charges defendants with aiding and abetting in brandishing a

           firearm during and in relation to the crime of violence charged in Count One, in

           violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2. Count Three charges conspiracy

           to possess with intent to distribute at least 5 kilograms of cocaine and at least 50

           kilograms of marijuana, in violation of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A),

           and 841(b)(1)(C). Count Four of the Indictment charges the defendants with aiding

           and abetting in brandishing a firearm in furtherance of the drug trafficking offense

           listed in Count Three, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2.3




                 3
                  Counts Five and Six charge defendants Jones and Finsley (respectively) with
           possession of a firearm by a convicted felon in violation of 18 U.S.C. §§ 922(g)(1)
           and 924(a)(2). The Indictment also contains a forfeiture provision.

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           II.     CONTENTIONS OF THE PARTIES

                   The Indictment charges defendants in both Counts Two and Four with

           violating 18 U.S.C. § 924(c)(1)(A)(ii), which provides in relevant part as follows:

                   [A]ny person who, during and in relation to any crime of violence or
                   drug trafficking crime . . . , uses or carries a firearm, or who, in
                   furtherance of any such crime, possesses a firearm, shall, in addition to
                   the punishment provided for such crime of violence or drug trafficking
                   crime–. . . (ii) if the firearm is brandished, be sentenced to a term of
                   imprisonment of not less than 7 years.

           Id.

                   Defendants assert that the Indictment is multiplicitous because it seeks to

           punish them in Count Four (alleging use, carrying, and possession of a firearm

           during a drug trafficking offense) for conduct already accounted for in Count Two

           (alleging use, carrying, and possession of a firearm during a crime of violence).

           (Motion to Dismiss 6-7.) The Government disagrees, arguing that the plain language

           of the statute indicates Congressional intent to allow for cumulative punishment.

           (Gov’t’s Resp. 5.) In addition, the Government asserts that the Indictment is not

           multiplicitous because Counts Two and Four require proof of different elements

           under the Blockburger test. See Blockburger v. United States, 284 U.S. 299 (1932).

           (Id.)



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           III.     DISCUSSION

                    An indictment is multiplicitous if it charges a single offense in more than one

           count.     United States v. Jones, 601 F.3d 1247, 1258 (11th Cir. 2010).              A

           multiplicitous indictment “violates double jeopardy principles by giving the jury

           more than one opportunity to convict the defendant for the same offense.” Id. A

           multiplicitous-indictment challenge is subject to the same standard as a double

           jeopardy challenge. Id. Therefore, courts apply “the Blockburger test to determine

           whether an indictment is multiplicitous, verifying that each count requires an element

           of proof that the other counts do not require.” United States v. Williams, 527 F.3d

           1235, 1241 (11th Cir. 2008); see also Blockburger, 284 U.S. at 304 (“The applicable

           rule is that, where the same act or transaction constitutes a violation of two distinct

           statutory provisions, the test to be applied to determine whether there are two

           offenses or only one, is whether each provision requires proof of a fact which the

           other does not.”).

                    The Court begins the Blockburger analysis by examining the statutory

           elements of each offense. United States v. Bonilla, 579 F.3d 1233, 1242 (11th Cir.

           2009). To support a conviction under Count Two, the jury would have to find the

           defendants “guilty of committing the predicate ‘crime of violence.’” United States

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           v. Rahim, 431 F.3d 753, 758 (11th Cir. 2005) (per curiam). To obtain conviction

           under Count Four, the “government must show that a defendant used or carried a

           firearm in relation to a drug trafficking crime, or possessed a firearm in furtherance

           of a drug trafficking crime.” United States v. Graves, 369 F. App’x 50, 51 (11th Cir.

           2010) (per curiam). Because Count Two requires an element of proof that Count

           Four does not require, the Counts are not multiplicitous under the Blockburger test.

                 That the elements of these offenses are separate is seen in the Eleventh

           Circuit’s Pattern Jury Instructions on § 924(c), which provide in part as follows:

                       The Defendant can be found guilty of this crime only if all the
                 following facts are proved beyond a reasonable doubt:

                        (1)    the Defendant committed the [drug-trafficking crime]
                               [crime of violence] charged in Count __ of the indictment;

                        (2)    the Defendant knowingly [used] [carried] [possessed] a
                               firearm; and

                        (3)    the Defendant [used the firearm “in relation to”] [carried
                               the firearm “in relation to”] [possessed the firearm “in
                               furtherance of”] the [drug-trafficking crime] [violent
                               crime].

           See Pattern Crim. Jury Instr. 11th Cir. OI 35.2 (2010).

                 This conclusion is also buttressed by decisions from other Circuits. For

           example, in United States v. Barrett, 496 F.3d 1079 (10th Cir. 2007), Count 1 of the

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           Indictment charged Barrett with using and carrying a firearm during and in relation

           to drug trafficking crimes and possessing a firearm in furtherance of such drug

           trafficking offenses, resulting in death, in violation of 18 U.S.C. § 924(c)(1)(A) and

           (j). Id. at 1086. Count 2 charged Barrett with using and carrying a firearm in

           relation to a crime of violence, i.e., the killing of a state law enforcement officer

           engaged in or on account of the performance of such officer’s official duties, and

           possessing a firearm in furtherance of such crime of violence, in violation of 18

           U.S.C. § 924(c)(1)(A) and (j). Id. On appeal following conviction, Barrett argued

           that the Indictment was multiplicitous because all counts were based on the same

           conduct–firearms and drugs–and for killing the same person. Id. at 1095. The court

           rejected that argument as follows:

                 Count 1 charged Barrett with using and carrying a firearm during and
                 in relation to several drug-trafficking crimes, resulting in the death of
                 Eales, in violation of 18 U.S.C. § 924(c)(1)(A) and (j). To sustain its
                 burden of proof against Barrett on this charge, the government was
                 required to prove that (1) Barrett committed one or more of the
                 predicate drug-trafficking offenses, (2) during and in relation to the
                 predicate offense(s) Barrett knowingly used and carried a firearm, (3)
                 the firearm played an integral role in the predicate offense(s) and (4) in
                 the course of using the firearm Barrett killed Eales. . . . Count 2
                 charged Barrett with using and carrying a firearm during and in relation
                 to a crime of violence, i.e., the killing of a state law enforcement officer
                 engaged in or on account of the performance of such officer’s duties,
                 in violation of 18 U.S.C. § 924(c)(1)(A) and (j). To sustain its burden

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                 of proof against Barrett on this charge, the government was required to
                 prove that (1) Barrett committed the predicate offense, (2) during and
                 in relation to the commission of the predicate offense, Barrett
                 knowingly used or carried, or in furtherance of such offense possessed
                 a firearm, (3) the firearm played an integral part in the predicate
                 offense, and (4) during the commission of the predicate offense Barrett
                 caused the death of Eales with the firearm. Id.

                         Applying Tenth Circuit precedent, we conclude that Counts 1
                 and 2 were not multiplicitous as to each other. It is true that both
                 counts were based on Barrett’s commission of several underlying
                 offenses with a single, continuous use of a firearm. In United States v.
                 Sturmoski, 971 F.2d 452 (10th Cir. 1992), however, we held that
                 multiple § 924(c) counts are permissible so long as the offenses
                 underlying each § 924(c) count do not constitute a single offense for
                 double jeopardy purposes. Id. at 461. Applying that principle here, it
                 is clear that Congress intended to permit multiple convictions and
                 sentences for drug-trafficking crimes, such as the four underlying such
                 crimes listed in Count 1, and the underlying crime listed in Count 2,
                 i.e., intentionally killing, during the commission of a drug trafficking
                 crime, a state law enforcement officer engaged in the performance of
                 his official duties, in violation of 21 U.S.C. § 848(e)(1)(B). Indeed,
                 Barrett does not seriously dispute otherwise. Because the crimes
                 underlying Count 1 are distinct from the crime underlying Count 2, the
                 two § 924 counts are in turn considered distinct.

           Id. at 1095-96.

                 Similarly, in United States v. Hoffman, 148 F. App’x 122 (3rd Cir. 2005), the

           court affirmed the conviction of a defendant charged with violating 18 U.S.C. §

           924(c)(1)(A) for “‘carrying and use during and in relation to a drug trafficking

           offense’ (count three)” and “carrying and use ‘during and in relation to a crime of

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           violence’ (count five).” Id. at 127. According to the court, “[t]here was ample

           testimony that Hoffman ‘actively employed’ a firearm during the commission of a

           drug trafficking crime and a crime of violence.” Id. Moreover, the court rejected the

           defendant’s argument that the counts were multiplicitous because “each charge

           contains different elements.” Id. at 129. Therefore, the court upheld the convictions.

           Id. at 130-31.

                 It is clear that § 924(c) permits multiple convictions arising from a single

           course of conduct. See Rahim, 431 F.3d at 756-58. In the instant case, the

           Government contends that defendants, in a single episode, aided and abetted the

           brandishing of a firearm as they committed both a crime of violence and a drug-

           trafficking crime. Therefore, the Indictment, which alleges § 924(c) violations in

           separate counts, is not multiplicitous.4

           IV.   CONCLUSION

                 For the reasons explained above, the undersigned RECOMMENDS that the

           Motion to Dismiss filed by defendants Whiters [108], Finsley [110], Beavers [112],

           and Jones [121] be DENIED.

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                   In his Reply, Mr. Whiters raised the “rule of lenity.” (Whiters Reply Br. 15-
           19.) “This court will not consider arguments raised for the first time in a reply
           brief.” U.S. v. Ga. Dept. of Nat. Res., 897 F. Supp. 1464, 1471 (N.D. Ga. 1995).

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                 SO RECOMMENDED, this 29th day of June, 2012.




                                        WALTER E. JOHNSON
                                        UNITED STATES MAGISTRATE JUDGE




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